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               If IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

IN RE: PARAGARD IUD                   )      MDL DOCKET NO. 2974
PRODUCTS LIABILITY                    )
LITIGATION                            )      (1:20-md-02974-LMM)
                                      )      This Document Relates to All Cases

CASE MANAGEMENT ORDER REGARDING PLAINTIFF FACT SHEETS
            AND PFS DOCUMENT PRODUCTION

      The Court hereby issues this Case Management Order to govern the form,

procedure, and schedule for the completion and service of Plaintiff Fact Sheets

(“PFS”), and other documents referenced therein, and the process for addressing

deficient and delinquent PFSs. The form PFS is attached hereto as Exhibit A, with

exhibits thereto attached as Exhibits A-1 through A-8.

      I.    PLAINTIFF FACT SHEET

      A.    SCOPE

      This Order applies to all Plaintiffs and their counsel in: (a) all actions

transferred to In re Paragard IUD Product Liability Litigation (“MDL No. 2974”)

by the Judicial Panel on Multidistrict Litigation (“JPML”) pursuant to its Order of

December 16, 2020 (Doc. No. 60); (b) all related actions originally filed in or

removed to this Court; (c) any “tag-along” actions transferred to this Court by the

JPML pursuant to Rules 6.2 and 7.1 of the Rules of Procedure of the JPML; and all
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actions directly filed into MDL No. 2974 pursuant to the Case Management Order

Regarding Direct Filing [Doc. No. 129] (collectively, “Member Actions”). The

questions in the PFS and the corresponding document requests shall be answered

and responded to without objection.

      B.     DEADLINES AND SERVICE OF A PFS AND RELATED
             MATERIALS

             1.    Cases Currently Pending in MDL No. 2974. Each Plaintiff in a

Member Action pending in MDL No. 2974 on the date of entry of this Order shall

have one hundred twenty (120) days from the date of entry of this Order to serve a

fully executed and complete PFS (as defined in Sections C.2 and C.3 below) and

duly executed authorizations, with the relevant documentation, as set forth in Section

F below.

             2.    Cases Transferred by the JPML to MDL No. 2974 after the Entry

of this Order. Each Plaintiff in a Member Action not pending in MDL No. 2974 on

the date of entry of this Order, but which thereafter is transferred by the JPML to

MDL No. 2974, shall have one hundred twenty (120) days from the date his/her

individual action is docketed in MDL No. 2974 to serve a fully executed and

complete PFS (as defined in Sections C.2 and C.3 below), and duly executed

authorizations with the relevant documentation attached, as set forth in Section F


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below.

               3.     Cases Directly Filed in MDL No. 2974. Each Plaintiff in a

Member Action not pending in MDL No. 2974 on the date of entry of this Order,

but which thereafter is directly filed in MDL No. 2974 pursuant to the Case

Management Order Regarding Direct Filing [Doc. No. 129], shall have one hundred

twenty days (120) from the date his/her individual complaint is filed in MDL No.

2974 to serve a fully executed and complete PFS (as defined in Sections C.2 and C.3

below), and duly executed authorizations with the relevant documentation attached,

as set forth in Section F below.

               4.     Transmission of PFS and Other Documents to Defendants.

Plaintiffs shall complete and serve their PFS and documents responsive to the

requests for production of documents set forth therein upon Defendants by uploading

their PFS and documents responsive to the request for production of documents to

Plaintiffs’ vendor, Postlethwaite & Netterville (“P&N”). Plaintiffs’ vendor, P&N,

is hereby ordered to transfer to Defendants’ vendor, Ontellus, all Plaintiffs’ PFSs

and documents produced responsive to the requests for production of documents.1


1
       The Parties are currently working through various technical details with their vendors and
will endeavor to reach a mutually agreeable timetable for the ongoing transfer of case-specific
discovery documents throughout the course of this litigation. The parties are instructed to advise
the Court if a supplemental order is needed to memorialize these future agreements.


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It is further ordered that the Plaintiffs’ Steering Committee shall have access to all

documents uploaded to Plaintiffs’ vendor, P&N. All documents shall be produced

in accordance with the requirements as set forth in the Case Management Order

Regarding Production of Electronically Stored Information and Paper Documents

(“ESI Protocol”) [Doc. No. 128]. PDFs should be produced as searchable PDFs2

with each facility’s or provider’s records contained in a separate PDF. The transfer

of documents by Plaintiffs’ vendor, P&N, to Defendants’ vendor, Ontellus, in the

aforementioned manner shall constitute effective service of the PFS and such

records.

               5.      Extensions of PFS Deadlines. A Plaintiff may request one

extension not to exceed thirty (30) days to serve a completed PFS, which Defendants

shall not unreasonably withhold. Such requests must be made in writing via email to

ParagardPFSExtensionRequest@ulmer.com before the expiration of the deadline.

As the deadlines for Plaintiff Fact Sheets have been negotiated between the parties,

requests for extension should be the exception, rather than the rule, and such requests

should be made in good faith.



2
       Endorsement of such records with Bates-numbers is strongly encouraged, in the following
format: a combination of an alpha prefix containing Plaintiff’s last name first name, and the facility
or provider name, along with an 8-digit number and to be numerically sequential for each facility
or provider (e.g. SmithJane_Memorial_Hospital_00000001).

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      C.     PFS GENERAL REQUIREMENTS AND EFFECT

             1.    PFS Form. The form PFS that shall be used in MDL No. 2974

and all Member Actions is attached hereto as Exhibit A, with Exhibits A-1 through

A-8. The substance of Exhibits A and A-1 through A-8 may not be modified in any

respect without the agreement of the Parties and approval of the Court; however, a

Plaintiff may attach additional pages to respond to particular questions, if necessary

and appropriate.

             2.    Items to be provided or produced. Plaintiffs in each Member

Action shall provide or produce the following within the deadlines set forth in

Section B above: (a) a PFS responding to all questions applicable to the Plaintiff

therein; (b) a signed and dated Declaration Page; (c) the requested records and

documents in response to the document requests set forth in the PFS as maintained

by Plaintiff and his/her counsel (to the extent not subject to privilege and/or work-

product protections); (d) duly executed authorizations to obtain discoverable records

as described in Section F below, using the form authorizations attached to this Order

as exhibits. The agreed manner of service on Defendants is set forth in Section B.4

above.

             3.     PFS that is complete. In responding to the PFS, each Plaintiff is

required to provide a PFS that is complete. For a PFS to be “complete,” the


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responding Plaintiff must comply in full with Sections C.2(a)-(d) above.

             4.     Deficiencies. Those Plaintiffs who serve a PFS, but who do not

provide a complete PFS or who provide incomplete or deficient information, shall

be governed by Section D below.

             5.     Delinquencies (i.e., No PFS Served). Plaintiffs who do not serve

a PFS by the deadline set forth in Section B above, including any granted extension,

shall be governed by Section E below.

             6.     Each Plaintiff shall remain under a continuing duty to

supplement the information provided in the PFS pursuant to Fed. R. Civ. P. 26(e).

             7.     Each completed PFS, and the information contained therein,

shall be verified, signed and dated by the Plaintiff(s) or the Plaintiff’s representative

as if they were interrogatory responses under Rule 33 or a response to a Request for

Admission under Rule 36. All responses in a PFS or amendment thereto are binding

on the individual Plaintiff as if they were contained in answers to interrogatories

under Rule 33 or a response to a Request for Admission under Rule 36 and can be

used for any purpose and in any manner that answers to interrogatories or responses

to a request for admission can be used pursuant to the Federal Rules of Civil

Procedure, subject to the confidentiality provisions of Section H below. The requests

for production in the PFS shall be treated as document requests under Rule 34.


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      D.     PFS DEFICIENCY PROCESS

             1.     PFSs Subject to Order to Show Cause Procedure for
                    Incompleteness and/or Certain Deficiencies

                    a.     If a Plaintiff fails to sign and date the Declaration page or

does not provide duly executed Authorizations by the deadline set forth in Section

B above, that Plaintiff is subject to the Order to Show Cause process in Section

D.1(d) below.

                    b.     If a Plaintiff provides excessive responses of “I don’t

know” or “To be determined,” or leaves an excessive amount of responses to

questions blank, that Plaintiff is subject to the Order to Show Cause process in

Section D.1(d) below.

                    c.     If a Plaintiff fails to produce responsive documents in her

possession or control as identified in her PFS, that Plaintiff is subject to the Order to

Show Cause process in Section D.1(d) below.

                    d.     If any one or more of the above sections (a) through (c)

apply, Defendant’s counsel shall notify Plaintiff’s attorney of record in writing via

email and inform such Plaintiff that she has an additional fifteen (15) days to correct

the deficiency(ies). If the deficiency(ies) are not cured in full within the 15 day

period, Defendants may include the case on a request to the Court for an Order to

Show Cause, which may include a request for dismissal of the case.
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                     e.     If any one or more of the above sections (a)-(d) apply to

a Plaintiff, that Plaintiff may not proceed to any subsequent stages of case-specific

discovery or be eligible for any further discovery “pools,” including, but not limited

to potential trial pools.

              2.     Other Deficiencies

                     a.     A PFS that contains responses of “I don’t know” or “To

be determined” or in which responses to questions are left blank, but which do not

amount to a good faith determination of “excessive,” may still be considered

deficient. In such case, Defendants may advise counsel for Plaintiff of those

deficiencies, and the parties should meet and confer in good faith regarding

supplementation by Plaintiff of the information.

                     b.     The parties may agree that certain deficiencies need not be

resolved until a later point. The failure to raise a deficiency(ies) does not waive or

prejudice a Defendant’s right to seek supplementation or provision of the

information in response to a deficiency at a later time.

       E.     PFS DELINQUENCY PROCESS (i.e., NO PFS SERVED)

              1.     If a Plaintiff does not serve an executed PFS within the deadline

set forth in Section B above, including any extension granted pursuant to Section

B.5 above, Defendant(s) shall send a “Notice of Delinquency” letter via email to that


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Plaintiff’s attorney of record, and the Plaintiff shall have thirty (30) days from the

date of the Notice of Delinquency letter to serve an executed, complete PFS.

             2.     If the Plaintiff does not serve an executed, complete PFS by the

expiration of the thirty (30) day period provided for in Section E.1 above, Defendants

may include the case on a request to the Court for an Order to Show Cause, which

may include a request for dismissal of the case.

             3.     A Plaintiff who is the subject of a Notice of Delinquency letter

may not proceed to any subsequent stages of case-specific discovery or be eligible

for any further discovery “pools,” including, but not limited to potential trial pools.

             4.     A Plaintiff who is the subject of a Notice of Delinquency letter

under Section E, or who is the subject a Notice of Deficiency letter under of Section

D.1 above, is not prohibited from proceeding to any subsequent stages of case-

specific discovery or from being eligible for any further discovery “pools,”

including, but not limited to potential trial pools, if such delinquencies and/or

deficiencies are cured as agreed to by the Parties or as determined by the Court, and

if such Plaintiff meets all other criteria for inclusion in such subsequent stages of

case discovery or pools.




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       F.      SPECIFIC REQUIREMENTS FOR AUTHORIZATIONS

               1.      Execution of Authorizations Generally.3 Plaintiffs shall sign and

date the Authorizations listed below setting forth the identity (name and full address)

of the applicable custodian of the records or provider of care for any providers listed

in her PFS. Those Authorizations shall be served on Defendants in the manner

described in Section B.

               2.      Medical Authorizations. Each individual Plaintiff shall sign and

date the “Limited Authorization to Disclose Health Information” attached as Exhibit

A-1 for each health care provider or provider of healthcare services set forth in

Plaintiff’s Fact Sheet (including but not limited to those in sections III (A, D, E); IV

(A-C), and V (C-J; L-N, R, and S)) and produce such Authorizations to Defendants

by the deadline set forth in Section B above.

               3.      Psychological or Emotional Injury Authorizations. If a Plaintiff

is asserting a claim for psychological or emotional injury, such Plaintiff shall provide

to Plaintiff’s counsel a signed and dated Authorization attached as Exhibit A-2,


3
        In negotiating the Production of Documents and Things and Document Requests, which
begin on page 43 of the Plaintiff Fact Sheet, Defendants agreed to withdraw Request No. 10 in
exchange for the agreement of reciprocity. That is, the parties agree, and embody their agreement
here, that any discovery request, except for Document Request No. 9, in the PFS containing “to
the extent not already produced” or similar language, will be deemed repetitive. In addition, the
parties agreed to delete Request No. 11, seeking production from Plaintiffs of the Paragard
including any and all pieces, to be addressed in a product inspection protocol to be negotiated later,
if necessary.

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which Plaintiff or Plaintiff’s counsel shall complete with regard to any Health Care

Provider who treated Plaintiff for such injury and any Health Care Facility in which

the Plaintiff was treated for such injury (including, but not limited to, as set forth in

Plaintiff’s Fact Sheet, Sections IV C; and V (L-M). Plaintiff’s counsel shall provide

such Exhibit A-2 Authorizations to Defendants’ Counsel within the deadline set

forth in Section B above. If a Plaintiff is not asserting a claim for psychological or

emotional injury, the Plaintiff does not need to complete the Authorization attached

as Exhibit A-2.

             4.     Employment and Tax Authorizations. If a Plaintiff is asserting a

claim for lost wages or lost earnings or lost earning capacity, then such Plaintiff shall

provide to Plaintiff’s counsel a completed, signed and dated Authorization for the

release of employment records for any employer listed in Plaintiff’s Fact Sheet, in

the form attached as Exhibit A-3 and a signed and dated Authorization for the release

of tax records, in the form attached as Exhibit A-4. Plaintiff’s counsel shall provide

Exhibit A-3 and A-4 Authorizations to Defendants’ Counsel within the deadline set

forth in Section B above. If a Plaintiff is not asserting a claim for lost wages or lost

earnings or lost earning capacity, the Plaintiff does not need to complete the

Authorization attached as Exhibits A-3 and A-4.




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             5.    Insurance Authorizations. Each individual Plaintiff shall sign

and date the Authorization for the release of insurance records for any insurer listed

in Plaintiff’s Fact Sheet, in the form attached as Exhibit A-5 and produce such

Authorizations to Defendants by the deadline set forth in Section B above.

             6.    Medicare/Medicaid Authorizations. If a Plaintiff has been

covered by Medicare or Medicaid at any time, such Plaintiff shall sign and date the

Authorization for the release of Medicare/Medicaid records, in the form attached as

Exhibit A-6 and produce such Authorization to Defendants by the deadline set forth

in Section B above.

             7.    Workers’ Compensation and Disability Authorizations. If a

Plaintiff has applied for or been awarded workers’ compensation or disability

benefits at any time in the past 12 years, such Plaintiff shall provide to Plaintiff’s

counsel a signed and dated Authorization for the release of workers’ compensation

records, in the form attached as Exhibit A-7, and/or the Authorization for the release

of disability records, in the form attached as Exhibit A-8, as applicable. Plaintiff’s

counsel shall provide such Exhibit A-7 and Exhibit A-8 Authorizations to

Defendants’ Counsel within the deadline set forth in Section B above. If a Plaintiff

has not applied for or been awarded either workers’ compensation or disability, that

Plaintiff need not complete either Authorization.


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             8.     Records Custodians Not Listed in PFS. For any custodian of

records not listed in the Plaintiff’s Fact Sheet, Defendants may request that Plaintiff

complete, sign and date a specific Authorization so that Defendants (or their record

collection vendor) may obtain records from that custodian. Plaintiffs’ counsel must

provide such authorizations within fourteen (14) days of the written request.

Plaintiff’s counsel may seek an extension of up to fourteen (14) additional days for

good cause in which to supply said Authorization and Defendants’ consent shall not

be unreasonably withheld. If the requested authorization is not provided within

fourteen (14) days or after any extension, Defendants may include the case on a

request to the Court for an Order to Show Cause, which may include a request for

dismissal of the case.

             9.     Custodian-Specific Authorizations. Plaintiff’s counsel shall

provide to Defendants duly executed custodian-specific authorization(s) if requested

or required by a particular custodian, within fourteen (14) days of receipt of notice

by Defendants (or their record collection vendor) that such custodian-specific

authorization is requested or required. Plaintiff’s counsel may seek an extension of

up to fourteen (14) additional days for good cause in which to supply said

Authorization and Defendants’ consent shall not be unreasonably withheld. If the

requested authorization is not provided within fourteen (14) days or after any


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extension, Defendants may include the case on a request to the Court for an Order

to Show Cause, which may include a request for dismissal of the case.

              10.   Additional Authorizations. To the extent additional custodian

authorizations are requested by Defendants, Plaintiff’s counsel shall cooperate in

providing them within a reasonable time.

        G.    VOLUNTARY DISMISSALS

        This Order shall in no way prohibit or inhibit a Plaintiff or her counsel from

filing stipulations for or motions to dismiss a specific defendant or defendants, or of

an entire Plaintiff’s case, for those Plaintiffs who are unable to comply with the

requirements set forth in this Order.

        H.    CONFIDENTIALITY

        All information disclosed in a PFS, the PFS itself, and all related documents

(including health care records and information) produced pursuant to the PFS or

from the authorizations provided therewith shall be deemed confidential and treated

as “Confidential Information” as defined in the Agreed Protective Order [Doc. No.

36].

        SO ORDERED this 7th day of July, 2022.


                                                    _________________________
                                                LEIGH MARTIN
                                                    Leigh MartinMAY
                                                                  May
                                                UNITED  STATES   DISTRJCT    JUD
                                                    United States District Judge
                                          14
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                  Exhibit A
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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

 IN RE: PARAGARD IUD                               : MDL Docket No. 2974
 PRODUCTS LIABILITY                                :
 LITIGATION                                        : (1:20-md-02974-LMM)
                                                   :
                                                   : This Document Relates to All Cases
                                                   :


                                    PLAINTIFF FACT SHEET
       Each plaintiff in MDL No. 2974 must complete this Plaintiff Fact Sheet (“PFS”). If You
are completing this PFS in a representative capacity for someone who has died or who otherwise
cannot complete the PFS, please answer as completely as You can for that person.

        In completing this PFS, You are under oath and must provide information that is true and
correct to the best of Your knowledge, and Your answers must be as complete as the information
reasonably available to You permits. If You cannot recall all of the details requested, please
provide as much information as You can. If the answer is “not applicable” or “none,” please write
that answer, rather than leaving the answer blank. If there is any information You need to complete
any part of the Fact Sheet that is in the possession of Your attorney(s), please consult with Your
attorney(s) so that You can fully and accurately respond to the questions in this Fact Sheet.

       You must supplement Your responses if You learn that they are incomplete or incorrect in
any respect. If You do not have knowledge sufficient to respond fully to a request or question after
making a good faith and reasonable effort to obtain the relevant information, You must so state.

        The parties, through their respective counsel, have agreed to limit the scope of the
information and documents being requested from plaintiffs at this time to that which is set forth in
this PFS. However, You are under an ongoing obligation to preserve any written or electronically
stored information potentially relevant to the issues in this litigation, including but not limited to
written and electronic correspondence, including e-mails, text messages, voicemails and blog
postings, and content from all online social networking website accounts in existence since the
date You/Plaintiff first had a Paragard placed in You to the present related to Your/Plaintiff’s
physical condition, physical activity, mental and/or emotional state, medical or health issues,
economic or employment issues, Paragards in particular, IUDs in general, contraceptives in
general, gynecological procedures, and/or Your lawsuit.

         If You have any documents, including, but not limited to: packaging, labeling, or
instructions for a Paragard; materials or items that You are requested to produce as part of
answering this PFS; or materials that relate to the injuries, claims, and/or damages that are the
subject of Your lawsuit, You must NOT dispose of, alter, or modify those documents or materials
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in any way. You are required to give all of those documents and materials to Your attorney as soon
as possible. If You are unclear about these obligations, please contact Your attorney.

       The parties, by counsel, agree that the questions and requests for documents contained in
this PFS are not objectionable and shall be answered without any objection. Further, it is agreed
that Defendants do not waive the right to request additional information or documents by way of
a supplemental fact sheet, interrogatories, requests for production of documents, and/or requests
for admission. The parties, by counsel, also agree that You have the right, and ongoing duty, to
supplement the responses to this PFS should You obtain or learn of additional responsive
information and/or materials.

         Information provided in response to this PFS will be used only for purposes related to this
litigation and may be disclosed only as permitted by the Protective Order in this litigation. This
PFS is completed pursuant to the Federal Rules of Civil Procedure. Your responses to the PFS
shall be treated as answers to Rule 33 interrogatories and Rule 34 requests for production of
documents, and are subject to the requirements of the Federal Rules of Civil Procedure and the
applicable Local Rules.

       You may attach as many sheets of paper as necessary to answer these questions.

                                     DEFINITION OF TERMS

       1.        “Paragard” shall mean the Paragard Intrauterine Device(s) (“IUD”) that was/were

placed in You.

       2.        The terms “You” and “Your” or “Plaintiff,” unless otherwise defined in a particular

question, shall mean the person who had a Paragard placed.

       3.        The term “Lawsuit” shall mean the individual lawsuit that Plaintiff has filed and

which is now part of MDL No. 2974.

       4.        When referring to a person, “identify” means to give, to the extent known, the

person’s full name, present or last known address, telephone number, and relationship to You.

       5.        The term “Health Care Provider” or “HCP” includes, but is not limited to, medical

doctors, physicians, nurses, physician assistants, nurse practitioners, midwives, chiropractors,

osteopaths, psychologists, psychiatrists, mental health providers, therapists, social workers,

pharmacists, counselors, individuals affiliated with any religious group, and any individual or

group who provided any diagnosis, care, treatment, therapy, counseling, and/or advice.


                                                     2
            You may attach as many sheets of paper as necessary to fully answer these questions.
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       6.       The term “Health Care Facility” includes, but is not limited to, hospitals, clinics,

doctors’ offices, infirmaries, out-patient facilities, offices, laboratories, pharmacies, substance

abuse treatment centers, employment health care facilities, and all other locations at which medical

care, counseling, therapy, testing, pain management, or medication is provided by any Health Care

Provider.

I.     GENERAL INFORMATION OF PERSON COMPLETING THIS FACT SHEET

     A. Your full name: ______________________ ____ _____________________________

     B. State the following for the Lawsuit You filed:

     C. Case Caption: _________________________________________________________

     D. MDL Case No: _________________________________________________________

     E. The name and contact information of the principal attorney(s) representing You:

                __________________________________________________________________
                Name
                __________________________________________________________________
                Firm
                __________________________________________________________________
                Address
                __________________________________________________________________
                Telephone Number
                __________________________________________________________________
                E-mail Address

     F. Are You are completing this PFS in a representative capacity?

                Yes                              No
            If yes, provide the following information:

            1. Your name:        ______________________________________________________

            2. Your address: ______________________________________________________

            3. The name of the individual or estate You are representing, and in what capacity
            You are representing the individual or estate:

            _____________________________________________________________________


                                                      3
            You may attach as many sheets of paper as necessary to fully answer these questions.
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                    4. If You were appointed as a representative by a court, the court and date of
                    appointment:

                    ____________________________                          ______________________________
                    Court                                                 Date of Appointment

                    5. Your relationship to the Plaintiff on whose behalf You are completing this PFS:
                    _____________________________________________________________________
                    6. If You represent a decedent’s estate, state the date and place of the decedent's death:
                    ___________________________ _______                              ______________________
         The remainder of this PFS requests information about the person who alleges injury from a
         Paragard. If You are completing this PFS in a representative capacity, please respond to the
         remaining questions with respect to the person who allegedly was placed with a Paragard, unless
         the question instructs You otherwise. Questions using the term “You” or “Your” refer to the
         person who allegedly was placed with the Paragard, unless instructed otherwise.

         II.    PERSONAL INFORMATION FOR THE PERSON WHO WAS PLACED WITH
                THE PARAGARD

               A. Full name (first, middle and last): ___________________ ___ ___________________

               B. Date of Birth (MM/DD/YYYY): ___________________________________________

               C. Place of Birth (CITY/STATE):          ________________________________               _________

               D. Social Security Number:              ___________________________________________

               E. Medicare Number:                     ___________________________________________

               F. Medicaid Number:                     ___________________________________________

               G. Maiden name or other names used or by which You have been known, and the date(s)
                  You were known by those other names:
Maiden or other name                                                      Dates known by that name
                                                                      (MM/DD/YYYY) to (MM/DD/YYYY)




                                                             4
                    You may attach as many sheets of paper as necessary to fully answer these questions.
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                 H. Current Address:
         ___________________________________ ________________________ ______ ________
         Address                                                          City
         State                                                                             Zip

         1. Who lives with You at this address?
Name of Person who lives with you                             Relationship to You




                      2. How long have You lived at that address? _________ Years _________ Months
                 I. List all prior addresses for the time period beginning five (5) years prior to when You
                    first had a Paragard placed and the dates when You lived at each of those addresses.
                                                                                                              Dates You lived
                                                                                   Prior                      at that address
Prior Address                                  Prior City                                         Prior Zip
                                                                                   State                      (MM/YYYY to
                                                                                                              MM/YYYY)




                                                               5
                      You may attach as many sheets of paper as necessary to fully answer these questions.
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              J. Gender (assigned at birth):               Male           Female

                  Prefer to self-identify as: __________________________________________________

              K. Beginning with high school and continuing through Your highest level of education,
                 identify each school, college, university and/or other educational institution You have
                 attended, the dates of attendance, courses of study pursued, diplomas or degrees awarded:

Name of School                  City/State                        Degree awarded; area of           Dates of Attendance
                                                                  study or major                    (MM/YYYY to
                                                                                                    MM/YYYY)




              L. If You are, or have ever been, married, provide the following information:

Name and current address of Spouse              Dates of Marriage                    Reason for End of Marriage, if
                                                (MM/DD/YYYY to                       applicable (e.g., divorce, death, etc.)
                                                MM/DD/YYYY)




                                                            6
                   You may attach as many sheets of paper as necessary to fully answer these questions.
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               M. For each child you have given birth to, provide the following information (for any child
                  given up for adoption, just provide initials (rather than name) and date of birth).

Name of Child (First & Last)              Date of Birth           Child’s Current Address
                                          (MM/DD/YYYY)




               N. List each pregnancy You had that did not result in a live birth, the date such pregnancy
                  ended, and the reason such pregnancy ended (e.g., miscarriage, abortion, still birth, etc.).

Date pregnancy ended (MM/YYYY)            Reason pregnancy ended




               O. Employment Information

                    1. Are You currently employed?

                                Yes                                       No

                    2. If You are currently employed, provide the following information regarding Your
                    current employer:




                                                             7
                    You may attach as many sheets of paper as necessary to fully answer these questions.
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                       a.      Name of Employer: ___________________________________________

                       b.      Address: ____________________________________________________

                       c.      Dates of Employment: _________________________________________

                       d.      Occupation/Job: ______________________________________________

                   3. If You are not currently employed, did You leave Your last job for a medical
                   reason?

                               Yes                                       No
                       If yes, describe when and why You left Your last job:




                   4. Provide the following information for each employer You have had for the time
                   period from 5 years prior to the placement of your ParaGard to 3 years after Your
                   ParaGard was removed (other than Your current employer):

Name of Employer         City, State of              Dates of                 Occupation                  Salary/Weekly
                         Employer                    Employment                                           Wage




                                                            8
                   You may attach as many sheets of paper as necessary to fully answer these questions.
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                   5. Since your Paragard was placed through the present, have You been out of work
                   for more than 30 days during any calendar year for reasons related to Your physical
                   and/or mental health?

                       Yes                       No                       Do not recall

                   If yes, provide the following information:

Name of Employer                     Dates out of work          Brief description of physical or mental health condition
                                     (MM/YYYY to
                                     MM/YYYY)




            P. Military Service Information

                   1. Have You ever served in any branch of the U.S. Military?

                               Yes                              No

                   2. If yes, provide the following information:

                       a.    the branch and dates of service, rank upon discharge, and type of discharge
                   received:

Branch                            Dates of service                Rank upon discharge               Type of discharge




                        b.     Were You ever rejected or discharged from the military for any reason
                   relating to Your medical, physical, psychiatric or emotional condition(s)?

                               Yes                              No


                                                            9
                   You may attach as many sheets of paper as necessary to fully answer these questions.
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                          c.     If yes, state the condition(s) for which You were rejected or discharged:
                     _____________________________________________________________________
                     _____________________________________________________________________

               Q. Insurance/Claim Information

                     1. Identify each insurance carrier with whom You had health insurance coverage, or
                     that covered You, for the time period beginning two (2) years before Your Paragard
                     was placed to the present time:

 Insurance provider name and address




                     2. Have You filed a workers’ compensation claim within the time period beginning
                     two (2) years before Your Paragard was placed to the present?

                         Yes                              No
                     If yes, for each claim please state the year you filed the claim(s) and the nature of the
                     claimed injury/disability:
Year claim filed   Nature of the claimed injury/disability




                                                             10
                     You may attach as many sheets of paper as necessary to fully answer these questions.
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     3. In the time period beginning two (2) years before Your Paragard was placed to the
     present, have You ever applied for Social Security and/or state or federal disability,
     received Medicare, Medicaid, DOD Tricare, State Children’s Health Insurance
     Program (SCHIP), Veterans Health Administration (VHA), or Indian Healthcare
     Services (IHS)?
                         Yes                        No

     If yes, identify the benefits received (check all that apply):

                         Medicare
                         Medicaid
                         DOD Tricare
                         State Children’s Health Insurance Program (SCHIP)
                         Veterans Health Administration (VHA)
                         Indian Healthcare Services (HIS)


         a.      If yes, are You receiving those benefits now?

                         Yes                        No

 Please note: if You are not currently a Medicare – eligible beneficiary, but become eligible
 for Medicare during the pendency of this lawsuit, You must supplement Your response at
 that time. This information is necessary for all parties to comply with Medicare
 regulations. See 42 U.S.C. §1395y(b)(a), also known as Section 111 of the Medicare,
 Medicaid, and SCHIP Extension Act of 2007 and §1395y(b)(2) also known as the Medicare
 Secondary Payer Act.

R. Have You ever filed a lawsuit or made a claim or demand for compensation, other than
   in the present Lawsuit, relating to any bodily or personal injury(ies)?

         Yes                       No

     If yes, provide a brief description of your injuries and the outcome of your lawsuit,
     claim, or demand.
     _____________________________________________________________________
     _____________________________________________________________________

S. Have You settled or reached any agreement, deal, or understanding of any kind with any
   other person, firm, corporation, or party with respect to Your lawsuit or the events
   described in Your lawsuit, including, but not limited to “Mary Carter” agreements?

     This question seeks information concerning agreements or understandings of any kind
     whatsoever, including past, present, and future settlements, deals, agreements,


                                             11
     You may attach as many sheets of paper as necessary to fully answer these questions.
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                   understandings, and conduct regarding the giving, withholding of, or nature of
                   testimony or evidence.

                       Yes                              No

                If yes, provide the following information:

Names of Parties Involved                                          Date of settlement or agreement




              T. Have You ever filed for bankruptcy?

                       Yes                       No

                If yes, provide the following information:

City and state where bankruptcy        Date of filing Case Number                Current Status
was filed                              (MM/DD/YYYY) (if known)




              U. In the last 10 years, have You ever been convicted of, or pled guilty to, a felony and/or
                 crime of fraud or dishonesty?

                       Yes                       No

                If yes, provide the following information:

State in which You were       State or federal court?        Felony or crime for which You were convicted or with
convicted or pled guilty                                     respect to which You pled guilty




                                                           12
                   You may attach as many sheets of paper as necessary to fully answer these questions.
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         III.    PLACEMENT and REMOVAL OF PARAGARD

                A. For each Paragard that has ever been placed in You, provide the following information:

Date of Placement    Lot number of      Name of HCP who           Address of HCP who               Why did you choose
                     the Paragard       placed the Paragard       placed the Paragard              Paragard?
(MM/DD/YYYY)




                 Did You obtain Your Paragard from anyone other than the Health Care Provider who
                 placed Your Paragard?

                                 Yes                              No

                     If yes, identify from what person and source You obtained Your Paragard:




                B. For each Paragard You listed in response to III(A) above, provide the following
                   information:

                     1. Oral, verbal, or spoken information conveyed to you (this includes, but is not
                     limited to, information about risks, benefits, instructions for use, or any side effects
                     and/or any warnings) [Include response for each Paragard You had placed.]:

Date of Placement    Did anyone provide         Name of person who               What information were you told?
(MM/DD/YYYY)         information to You about provided the
                     Paragard before it was     information to You
                     placed in You? (State Yes,
                     No, or Do not recall)




                                                             13
                     You may attach as many sheets of paper as necessary to fully answer these questions.
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                          Yes             No

                         Do Not Recall

                         Yes             No

                         Do Not Recall

                         Yes             No

                         Do Not Recall

                    2.        Written information given to you (including but not limited to, for example,
                    a pamphlet, a booklet, an information sheet, something else?) [Include response for
                    each Paragard You had placed.]:

Date of Placement   Were You given any            Name of person who            What written materials were you given?
(MM/DD/YYYY)        written information about gave that information
                    risks, benefits, instructions to You
                    for use, or warnings about
                    Paragard before it was
                    placed in You? (State Yes,
                    No, or Do not recall)


                         Yes              No

                         Do Not Recall
                        Yes               No
                        Do Not Recall
                        Yes               No
                         Do Not Recall

                       b.    Do You, or anyone else, including Your attorneys, still have that
                information?

                                Yes                              No

                        If No, when, to the best of your recollection, was the last time You saw that
                        information?




                                                            14
                    You may attach as many sheets of paper as necessary to fully answer these questions.
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             C. For each Paragard You listed in response to III(A) above, did You or anyone other than
                a Health Care Provider ever remove or attempt to remove the Paragard?

                              Yes                              No
                      If Yes, provide the following information:

Date of Placement Date You or anyone Name of person who                  Identify any problems that occurred at removal
(MM/DD/YYYY) other than a HCP        removed or attempted
                  removed or attempt removal
                  to remove the
                  Paragard
                  (MM/DD/YYYY)




             D. For each Paragard that You have ever had removed or attempted to have removed by a
                Health Care provider, provide the following information:

Date of Removal Name and address of HCP             Why did you have it                 Identify any problems that
(MM/DD/YYYY) who removed the Paragard               removed?                           occurred at removal




                  E. With regard to the particular Paragard that is the subject of Your Lawsuit, did any
                     HealthCare Provider recommend that You not have the Paragard (either in whole
                     or in part) removed?                 Yes               No           Do not recall



                                                          15
                  You may attach as many sheets of paper as necessary to fully answer these questions.
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                     If Yes, provide the following information:

Date of              Name of HCP              who      made      the Address of HCP who made the recommendation
Recommendation       recommendation
(MM/DD/YYYY)




            F. With regard to the particular Paragard (or any part of it): that is the subject of Your
               Lawsuit: do you know where it is?

                             Yes              No

                 If Yes, who has it?

                       I have it; and it is located in (Identify City & State)

                              __________________________________________________________

                       My lawyer has it; and it is located in (Identify City & State)

                              __________________________________________________________

                       Someone else has it;

                             Identify who you believe has it: ________________________________

                             Identify (City & State) where you believe it is located:
                             ____________________________________________________________
            G. Have You ever had any communication (written, electronic, or oral), with any of the
               Defendants You named in Your Lawsuit?

                     Yes                              No




                                                         16
                 You may attach as many sheets of paper as necessary to fully answer these questions.
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             If yes, provide the following information:

Date of                Method of                 Identify entity or person You       Brief description of the
Communication          Communication             communicated to or with             communication
(MM/DD/YYYY)           (e.g., email, letter,
                       phone call, etc.)




      IV.    ALLEGED INJURIES FROM PARAGARD AND CLAIMS ASSERTED

            A. Alleged Injuries

                 1. Are You claiming that You a suffered bodily injury, illness, or disability (referred
                 to collectively herein as “injury”) as a result of Your Paragard?

                             Yes                              No

                 2. For each injury that You claim was caused by Your Paragard, provide the following
                 information:

Describe separately each        Is the injury    When did You first         Name and Address of each HCP who
injury You claim                continuing?      have symptoms that         diagnosed You with or treated you for the
                                (Yes or No)      You believe are            injury
                                                 related to the injury?
                                                 (MM/DD/YYYY)




                                                         17
                 You may attach as many sheets of paper as necessary to fully answer these questions.
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    3. Has any Health Care Provider informed You that any injury identified in Section
    IV.A.2 above was caused by, or related to, Your Paragard?

                Yes                              No




                                            18
    You may attach as many sheets of paper as necessary to fully answer these questions.
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                 If yes, provide the following information for each injury:

Injury                     Name and Address of the HCP who informed You                Date that HCP informed
                           that injury was caused by or related to Your                You that injury was caused
                           Paragard                                                    by or related to Your
                                                                                       Paragard (MM/DD/YYYY)




             4. For each injury You claim was caused by a Paragard, have you ever had the same
             injury before the Paragard that is the subject of Your Lawsuit was placed in You?
                 Yes                              No
             If yes, provide the following information:

Injury         Date You first were      Name and Address of each HCP            Name and Address of each HCP
               aware of that injury     who diagnosed You with the              who treated You for the injury
               (MM/DD/YYYY)             injury




                                                     19
             You may attach as many sheets of paper as necessary to fully answer these questions.
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                      5. Do You claim that Your Paragard worsened an injury or condition that You already
                      have or had in the past?

                          Yes                              No
                      If yes, identify the injury or condition that You believe was worsened as a result of
                      Your Paragard, identify the Health Care Provider who diagnosed you with that injury,
                      and state the date of diagnosis:
Injury or Condition                  Dates of Diagnosis            Health Care Provider who diagnosed you with the
                                     (MM/DD/YYYY)                  injury




              B. Treatment for Your Alleged Injuries

                      1. Did You receive any treatment for injuries or conditions You claim were caused by
                      Your Paragard?

                          Yes                       No
                      If yes, provide the following information in chronological order with the oldest
                      treatment first:

Injury            Describe       Treatment      You Date of Treatment Name and Address of each person or HCP
                  Received                          (MM/DD/YYYY) who treated You




                                                              20
                      You may attach as many sheets of paper as necessary to fully answer these questions.
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    Did You have any medical tests or procedures that You claim are related to the removal
    of Your Paragard?

                        Yes                               No

        If yes, please identify the type of medical tests or procedures:

                Medical Test or Procedure                                Yes/No

     Ultrasound-guided removal                                     Yes            No



                                            21
    You may attach as many sheets of paper as necessary to fully answer these questions.
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                   Manual vacuum aspiration                                      Yes            No
                   Hysteroscopy                                                  Yes            No
                   D&C                                                           Yes            No
                   Laparoscopy                                                   Yes            No
                   Laparotomy                                                    Yes            No
                   Hysterectomy                                                  Yes            No
                   Other (Describe):                                             Yes            No




                         If yes, provide the following information:

Medical Test/Procedure                Date of Test or Name and Address of each              Name and Address of each
                                      Procedure       HCP who performed the                 Health Care Facility where
                                      (MM/DD/YYYY) test or procedure                        the test or procedure was
                                                                                            performed




                                                          22
                  You may attach as many sheets of paper as necessary to fully answer these questions.
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C. Claims / Damages Alleged

    1. Are You making a claim for lost wages in Your Lawsuit?

                Yes                              No

        a.      If yes, identify every category of your lost wage claim:
                        Salary
                        Bonuses
                        Stock options
                        Retirement matching
                        401(k) matching
                        Other – Please describe:




    2. Are You claiming impairment of future earning capacity as a result of any
    injury(ies) You contend was/were caused by a Paragard?

              Yes                                No

    If yes:

    State the approximate total amount of future time You believe You will lose from work
    as a result of any injury(ies) You claim were caused by the Paragard at issue in this
    lawsuit:

                        1-7 days
                        8-14 days



                                            23
    You may attach as many sheets of paper as necessary to fully answer these questions.
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                        15-30 days
                        1 - 3 months
                        3 - 6 months
                        6 months or more

    3. Are You seeking to recover any “out-of-pocket” expenses (those expenses You
    have directly paid or incurred, including medical expenses not covered by insurance),
    that You claim are related to any injury(ies) You claim was/were caused by a Paragard?

                        Yes                               No

    If yes, what is the current amount of out – of – pocket expenses you seek to recover in
    this lawsuit?

                        $100 or less
                        $500 or less
                        $501 to $1,000
                        $1001 to $3,000
                        $3,001 to $5,000
                        $5,001 to $10,000
                        $10,000 to $25,000
                        more than $25,000

    Are those out-of-pocket expenses continuing?

                        Yes                               No

    4. Has any insurer or any other entity or person paid any medical expenses related to
    any injury(ies) that You claim was/were caused by a Paragard and for which You seek
    recovery in Your Lawsuit?

        Yes                              No

    5. Are You claiming emotional distress or any psychiatric injury or condition as a
    result of a Paragard?

        Yes                              No




                                            24
    You may attach as many sheets of paper as necessary to fully answer these questions.
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                          a.    If Yes, have You received any type of medical, emotional, or psychiatric care,
                                counseling, or treatment for the emotional distress or any psychiatric injury
                                or condition You claim?

                                          Yes                               No

                                  i. If yes, provide the following information:

Injury or Condition                  Dates of Treatment            Name and Address of each person or HCP who treated
                                     (MM/DD/YYYY to                You for the injury(ies) or condition(s)
                                     MM/DD/YYYY)




                      6. Does Your spouse seek damages for loss of consortium in this Lawsuit?

                                  Yes                      No                I do not have a spouse

                          If yes, Your spouse must answer the following questions and complete, sign,
                          and provide a Declaration in the form attached to this PFS.

                          a.      Spouse’s Name: _____________________________________________

                          b.      Spouse’s Date of Birth (MM/DD/YYYY): ________________________

                          c.      Spouse’s Social Security Number: _______________________________

                          d.      State whether any of the following are alleged or claimed in the Lawsuit:

                                   Allegation or Claim                                        Yes/No

                       Loss of services of spouse                                      Yes                   No



                                                              25
                      You may attach as many sheets of paper as necessary to fully answer these questions.
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                    Impaired sexual relations                                      Yes                   No

                    Lost wages/lost earning capacity                               Yes                   No

                    Lost out – of – pocket expenses                                Yes                   No

                    Physical injuries                                              Yes                   No

                    Psychological injuries/emotional injuries                      Yes                   No

                    Other (Specify)                                                Yes                   No




                      e.     List the name, address, and specialty of any Health Care Provider from
                      whom treatment was sought by the loss-of-consortium plaintiff for any physical,
                      emotional, or psychological injuries or symptoms alleged to be related to his/her
                      claim in this Lawsuit. If “none,” state “none.”

Name of the HCP from whom       Address of the HCP from whom treatment Specialty of the HCP from whom
treatment was sought by the     was sought by the loss-of-consortium   treatment was sought by the loss-of-
loss-of-consortium plaintiff    plaintiff                              consortium plaintiff




        V.     MEDICAL/HEALTH BACKGROUND

             A. What is Your current height: ______ feet _____ inches

             B. What is Your current weight: ______ lbs.

             C. Identify each of Your primary care Health Care Providers for the period of five (5) years
                prior to Your first Paragard placement to the present time:




                                                          26
                  You may attach as many sheets of paper as necessary to fully answer these questions.
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Name of HCP                        Last Known Address (CITY/STATE)                          Dates Seen (MM/YYYY to
                                                                                            MM/YYYY)




              D. To the extent not already provided above, identify each of Your
                 obstetricians/gynecologists (or similar Health Care Providers) for the time period of
                 five (5) years before placement of first Your Paragard to the present:

Name of HCP                    Last Known Address (CITY/STATE)                              Dates Seen (MM/YYYY to
                                                                                            MM/YYYY)




              E. To the extent not already provided above, provide the name and address of every Health
                 Care Provider from whom You received medical advice and/or treatment from five (5)
                 years prior to the date of placement of Your first Paragard, to the present.

Name and Address of each HCP           Specialty of the HCP           Date when advice or          Condition treated or
                                                                      treatment was provided       consulted on
                                                                      (MM/DD/YYYY)




                                                           27
                   You may attach as many sheets of paper as necessary to fully answer these questions.
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               F. Identify each Health Care Facility where You have received inpatient or outpatient
                  treatment for any condition, including emergency room treatment and/or surgical
                  procedures, from the time period of five (5) years prior to placement of Your first
                  Paragard to the present.

Name of Health Care Facility      Address of Health Care          Date of             Reason for Admission or Treatment
                                  Facility (CITY/STATE)           Admission or
                                                                  Treatment
                                                                  (MM/YYYY)




                                                             28
                     You may attach as many sheets of paper as necessary to fully answer these questions.
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                G. For all methods of prescription birth control (other than IUDs) You have used for a period
                   of 10 years prior to the placement of your first ParaGard, provide the following
                   information:

Type of Birth    Product Name       Manufacturer Name          Dates of Use                  Name and Address of HCP
Control                                                        (MM/YYYY to                   who prescribed it
                                                               MM/YYYY)




                H. Have you ever used an IUD other than ParaGard?

                         Yes               No




                                                             29
                     You may attach as many sheets of paper as necessary to fully answer these questions.
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                   If “yes,” for each IUD you have used, please provide the following information:

Product Name                    Manufacturer         Dates of Use (MM/YYYY              Name and Address of HCP who
                                Name                 to MM/YYYY)                        prescribed it




               I. Has any Health Care Provider recommended or advised that You discontinue any birth
                  control drug or device that You have used?

                        Yes               No              Do not recall

                    If yes, provide the following information:

Birth Control Drug or Device Date of                 Name and Address of HCP who made the recommendation
                             Recommendation
                             (MM/YYYY)




                                                            30
                    You may attach as many sheets of paper as necessary to fully answer these questions.
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               J. Prescription Medicines.

                    1. Identify each prescription medication You have taken on a regular basis for the time
                    period of two years prior to the placement of your Paragard to the present time. [You
                    do not need to list medication taken for birth control here if already identified in
                    response to [§ G] above.]:

Name of           Reason                Dates Taken           Name of the prescribing          Name and Address of
Prescription      Prescribed            (MM/YYYY to           HCP and address (if not          Dispensing Pharmacy
Medication                              MM/YYYY)              previously provided




                                                            31
                    You may attach as many sheets of paper as necessary to fully answer these questions.
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            K. Tobacco Use:

                 Check and provide information for all that apply:

                              Never smoked cigarettes

                              Past smoker of cigarettes
                                     Date on which smoking ceased __________
                                     Amount smoked on average: _____ packs per day for _____ years

                              Current smoker of cigarettes
                                     Amount smoked: _____ packs per day for _____ years

            L. Are you making a claim for mental, emotional or psychiatric injuries, mental anguish, or
               depression?

                       Yes                            No

                  If yes, have You sought or obtained emotional, psychiatric or psychological treatment
                  of any type, including therapy, for any mental health conditions including depression,
                  anxiety, or other emotional or psychiatric disorders during the time period of two (2)
                  years prior to placement of Your Paragard to the present time?

                       Yes                            No

                  If Yes, specify the condition, its date(s) of onset, and Your treating physician.

          Condition                                 Date(s) of Onset                           Treating Physician




            M. For each of the following condition(s), state whether You have ever been diagnosed with
               the condition.

                      Condition                                            Yes/No/Do Not Recall
High blood pressure                                            Yes            No            Do Not Recall
Migraines                                                      Yes            No            Do Not Recall
Depression                                                     Yes            No            Do Not Recall
Breast Cancer                                                  Yes            No            Do Not Recall
Endometrial Cancer                                             Yes            No            Do Not Recall



                                                         32
                 You may attach as many sheets of paper as necessary to fully answer these questions.
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   Ovarian Cancer                                                  Yes            No            Do Not Recall
   Cervical Cancer                                                 Yes            No            Do Not Recall
   Known or suspected uterine malignancy                           Yes            No            Do Not Recall
   Known or suspected cervical malignancy                          Yes            No            Do Not Recall
   Known or suspected breast cancer                                Yes            No            Do Not Recall
   Other progesterone-sensitive cancer                             Yes            No            Do Not Recall
   Acute liver disease or liver tumor (whether benign              Yes            No            Do Not Recall
   or malignant)
   DVT or other blood clot/blood clotting disorders                Yes            No            Do Not Recall
   Embolism                                                        Yes            No            Do Not Recall
   Stroke                                                          Yes            No            Do Not Recall
   Cerebral hemorrhage                                             Yes            No            Do Not Recall
   Aneurysm                                                        Yes            No            Do Not Recall
   Obesity                                                         Yes            No            Do Not Recall
   Diabetes                                                        Yes            No            Do Not Recall
   Pelvic inflammatory disease                                     Yes            No            Do Not Recall
   Congenital or acquired uterine anomaly, including               Yes            No            Do Not Recall
   fibroids and/or condition that distorts the uterine
   cavity
   Uterine bleeding of unknown cause                               Yes            No            Do Not Recall
   Any other condition that prevents you from using                Yes            No            Do Not Recall
   hormones. Please Describe:




                   For each condition marked "yes" above, provide the following information:
Condition                                    Date of   Name & Address of HCP                      Name & Address of each
                                             Diagnosis who diagnosed You                          HCP who treated You
                                             [MM/YYYY]




                                                             33
                     You may attach as many sheets of paper as necessary to fully answer these questions.
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                 N. Other than the condition(s) listed above, have You ever been diagnosed with any other
                    chronic health condition involving your reproductive organs?

                          Yes                              No
                      If yes, provide the following information:
Chronic Health              Date of Diagnosis       Name & Address of the HCP               Name & Address of each HCP
Condition                   [MM/YYYY]               who diagnosed You                       who treated You)




                                                              34
                      You may attach as many sheets of paper as necessary to fully answer these questions.
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O. To the best of your knowledge, do You have a family history (i.e., Parents, Siblings) of
   any of the following conditions, and, if so, provide the following information.

   Chronic Health Condition            Parent or Sibling? [List all that apply and list the specific
                                       condition, if known.]
   Cardiovascular problems

   DVT or other blood clotting
   disorders
   Stroke

   Embolism

   Depression

   Cancer

   Acute liver disease or liver
   tumor (whether benign or
   malignant)

P. Are you claiming a loss of reproductive health?

         Yes                              No


Q. If yes, briefly describe the reproductive health You claim you have lost.




                                             35
     You may attach as many sheets of paper as necessary to fully answer these questions.
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               R. If You answered yes to the question in section P, above, Have You ever been treated for
                  female infertility or consulted with any Health Care Provider related to female infertility?

                          Yes                       No

                      If yes, identify any condition You were diagnosed with and provide the following
                      information:

Condition/Diagnosis         Date of   Name of the HCP who diagnosed                   Name of each HCP with whom You
                            Diagnosis You (and address if not otherwise               treated or consulted (and address if not
                            [MM/YYYY] provided)                                       otherwise provided)




               S. If You answered yes to the question in section P above, is your spouse a plaintiff in your
                  lawsuit?

                          Yes                       No

                      If you checked the “yes” box, has Your spouse ever been treated for or consulted with
                      any Health Care Provider related to male infertility?

                          Yes                       No

                      If you checked the “yes” box, identify any condition Your spouse was diagnosed with
                      and provide the following information:

Condition/Diagnosis      Date of Diagnosis      Name & Address of the HCP          Name & Address of each HCP with
                         [MM/YYYY]              who diagnosed Your spouse          whom Your spouse treated or consulted




                                                              36
                      You may attach as many sheets of paper as necessary to fully answer these questions.
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       If Your spouse is not a plaintiff in your lawsuit, was he married to or living with you
       when your ParaGard was removed?

                               Yes                        No


       If so, did he consult with or was he treated by a Health Care Provider for male infertility
       from the time your Paragard was removed until the time your lawsuit was filed?

                               Yes                        No


VI.    SOCIAL MEDIA/INTERNET

Social Networking
     A. For five (5) years prior to the placement of your ParaGard, did you read information
         about IUDs generally and/or Paragards in particular in a website, chat room, message
         board, or other electronic forum?

                Yes                      No

       If yes, for each such site, provide the following information:

 Name of Site                                    Dates Visited (MM/YYYY to MM/YYYY)




      B. After the removal (and/or attempted removal) of your Paragard, did you read information
         about IUDs generally and/or Paragards in particular in a website, chat room, message
         board, or other electronic forum?

                Yes                      No


                                                   37
           You may attach as many sheets of paper as necessary to fully answer these questions.
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                If yes, for each such site, provide the following information:

         Name of Site                               Dates Visited (MM/YYYY to MM/YYYY)




               C. For five (5) years prior to the placement of your Paragard, have You ever discussed or
                  posted about the following on any social networking site, website accounts, or message
                  boards?

                    1. Your reproductive health, including, but not limited to, Your gynecologic, pelvic, or
                    abdominal health?

                                        Yes                      No

                    2. IUDs, including, but not limited to, Paragard IUDs?

                                        Yes                      No

                    3. Your Lawsuit about Paragard or Paragard lawsuits in general?

                                        Yes                      No

                    If You answered yes to (C)(1), (2), and/or (3) above, then for each entry or post, provide
                    the following information:

Name of Site                     Date of Post            Description of substance of the entry or post
                                 (MM/DD/YYYY)




                                                            38
                    You may attach as many sheets of paper as necessary to fully answer these questions.
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D. When did You first become aware of claims or lawsuits against Paragard? Please provide
   the month, day, and year (MM/DD/YYYY): _________________.


   1. How did You first become aware of the claims or lawsuits against Paragard?

       a.      Television advertisement

                   Yes                      No

   If You checked “Yes” for “Television advertisement,” please describe the television
   advertisement.




       b.      Print advertisement

                   Yes                    No

   If You checked “Yes” for “Print advertisement,” please describe the print advertisement.




       c.      Website or internet

                   Yes                         No

   If You checked “Yes” for “Website or internet,” please identify what you saw or read on
   the site(s) You visited.




       d.      Other?

                   Yes                         No

   If You checked “Yes” for “Other,” please explain and identify the source:




                                               39
       You may attach as many sheets of paper as necessary to fully answer these questions.
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    VII.    WITNESSES

            A.      Other than Your Health Care Providers identified above, identify all persons whom
            You believe possess information about Your alleged injury, any facts related to Your
            claims, and/or Your medical condition (at any time):


Name of witness                   Address                                  Relationship to You




                                                       40
               You may attach as many sheets of paper as necessary to fully answer these questions.
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                                      DECLARATION

 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that all of the information
 provided in this Plaintiff Fact Sheet is true and correct to the best of my knowledge,
 information and belief formed after due diligence and reasonable inquiry.

 Further, I acknowledge that I have an obligation to supplement the above responses if I learn
 that they are in some material respects incomplete or incorrect.

 ________________________                         _________________________________
        Dated                                     Print Name



                                                  __________________________________
                                                  Signature




                                             41
     You may attach as many sheets of paper as necessary to fully answer these questions.
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              DECLARATION OF CONSORTIUM PLAINTIFF
 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that all of the information
 provided in this Plaintiff Fact Sheet at Sections IV.D.8 (a-e) is true and correct to the best
 of my knowledge, information and belief formed after due diligence and reasonable inquiry.

 Further, I acknowledge that I have an obligation to supplement the above responses if I learn
 that they are in some material respects incomplete or incorrect.




 ________________________                         _________________________________
        Dated                                     Print Name of Consortium Plaintiff



                                                  __________________________________
                                                  Signature of Consortium Plaintiff




                                             42
     You may attach as many sheets of paper as necessary to fully answer these questions.
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                      PRODUCTION OF DOCUMENTS AND THINGS

Attach the following documents and things to this Plaintiff Fact Sheet and Declaration in the
manner set forth in the Implementing (Enabling) Order on the Plaintiff Fact Sheet (CMO No. __).

A.     AUTHORIZATIONS: Sign and attach to this Plaintiff Fact Sheet the Authorizations for
the release of records appended hereto. Check the box if You are attaching the signed
Authorization.

       A-1 Authorization for Release of Medical Records is signed and attached

       A-2 Authorization for Release of Psychological/Psychiatric Records is attached (if
       claiming emotional distress, menta, emotional, psychological or psychiatric injury)

       A-3 Authorization to Release Employment Information is attached (if claiming lost wages,
       lost earnings or impairment of earning capacity)

       A-4 Authorization for Release of Tax Records (if claiming lost wages, lost earnings or
       impairment of earning capacity)

       A-5 Authorization for Release of Insurance Records

       A-6 Authorization for Release of Medicare Records

       A-7 Authorization for Release of Worker’s Compensation Records (if applicable)

       A-8 Authorization for Release of Disability Claims Records (if applicable)


B.    If You are completing this PFS on behalf of a deceased person, please attach (1) the legal
documentation establishing that You are the legal representative of the estate and (2) a copy of the
decedent’s death certificate.

                                    DOCUMENT REQUESTS:

“Document” as used below means hard copy documents and electronically-stored information
(ESI), as defined in the Case Management Order Regarding Production of Electronically Stored
Information and Paper Documents (“ESI Protocol”) (Doc. No. 128).

Communications solely with Your attorneys, and that You did not show or give to anyone else,
are not included in these Requests.

For each response below, state whether You have any of the following documents in You
possession, custody, or control, by checking the appropriate box below each Request.

If You have documents in Your possession, custody, or control, provide a true and correct copy of
such documents with this completed Plaintiff Fact Sheet.


                                                   43
           You may attach as many sheets of paper as necessary to fully answer these questions.
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1. Produce all medical and pharmacy records (for example, receipts, prescriptions, and
   records of purchase) You have in Your possession, custody, or control describing,
   discussing, or referring to Paragard including the following records:

     a. Patient information sheets, “Information for Patients,” “Prescribing Information,”
        package inserts, brochures, handouts, pamphlets, consent forms, or product
        literature for a Paragard;

     b. Procedures, tests, or Health Care Provider office visits You had to place a Paragard
        including consent forms, appointment cards, and all product identification;

     c. Any follow-up care You received following the placement of Your Paragard;

     d. Any procedure, test, Health Care Facility in-patient or out-patient admission, or
        Health Care Provider office visit You had to remove a Paragard;

     e. Any follow-up care You received following the removal of Your Paragard; and

     f. All pharmacy records for any prescription medication that You took for any injury
        You claim was caused by Your Paragard.

                 The documents are attached.

                 I have no documents.

2. Produce all medical and pharmacy records that were requested or obtained for Your
   Lawsuit, unless already produced in response to Request number 1;

                 The documents are produced in response to Request number 1.

                 The documents are attached.

                 I have no documents.

3. Produce all documents in Your possession, custody, or control about Paragard including
   the following:

     a. Documents You created describing, discussing, or referring to Paragard or any of
        the physical or mental conditions You are claiming are related to Your Paragard;

     b. All letters, e-mail, or other electronic messages You have written to any Defendant,
        Health Care Providers, or governmental entities about Paragard;

     c. All news articles or medical literature that describe, discuss, or reference Paragard,
        or any of the Defendants You name in Your Lawsuit;




                                             44
     You may attach as many sheets of paper as necessary to fully answer these questions.
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     d. All advertisements or promotional material for Paragard You saw before Your
        Paragard was placed in You;

     e. All attorney advertisements for potential claims or lawsuits directed to Paragard
        You saw before Your Lawsuit was filed;

     f. All information that describes, discusses, or refers to Paragard that You
        downloaded or printed from the internet before Your Lawsuit was filed;

     g. Any recorded statement or written statement or notes of any statement from any of
        the Defendants in Your Lawsuit and/or any of their agents, representatives, or
        employees about Paragard and/or the injuries or claims alleged in Your Lawsuit;

     h. All social media or internet posts You made or posts made about You in which you
        were tagged or of which You are aware that describe, discuss, or refer to Paragard;

     i. All social media or internet posts You made or posts that were made about You,
        that describe, discuss, or refer to any of the alleged injuries, conditions, or damages
        You claim in Your Lawsuit;

     j. All calendars, journals, diaries, and notes that describe, discuss, or refer to Paragard
        or the injuries, damages or treatment You are alleging in Your Lawsuit;

     k. All statements obtained from or given by any person, other than Your attorney(s)
        or expert(s), having knowledge of the facts relevant to the subject of Your Lawsuit;
        and

     l. Any photographs or videos that depict the Paragard placed in You or its removal,
        the injuries You allege were caused by Paragard, or any care and/or treatment You
        received

                 The documents are attached.

                 I have no documents.

4. Produce all documents in Your possession, custody, or control describing, discussing, or
   that refer to the following:

     a. IUDs of any type in general or any alleged health risks related to IUDs in general;
        and/or

     b. Birth control or contraception in general or any alleged health risks related to birth
        control or contraception in general.




                                             45
     You may attach as many sheets of paper as necessary to fully answer these questions.
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                 The documents are produced in response to one or more other Requests for
                 Production above.

                 The documents are attached.

                 I have no documents.

5. Produce all documents describing, discussing, or that refer to the following, as identified
   in Your responses in Your Plaintiff Fact Sheet:

     a. Any workers’ compensation claims as identified in Your response to § II.Q.2
        (workers’ compensation claims);

     b. Any Social Security or state/federal disability claims as identified in Your response
        to § II. Q.3 (Social Security or state/federal disability claims);

     c. Any lawsuits or claims as identified in Your response to § II. R (lawsuits or claims);

     d. Any agreements identified in Your response to § II. S. (Agreements with respect
        to your lawsuit);

     e. Any written information identified in Your response to § III.B.2 (written
        information);

     f. Any actions or steps taken to preserve or maintain the Paragard removed from You;
        (Response to § III. F);

     g. The location(s) of the Paragard or any of its pieces removed from You, or any
        transfer of them, including all chain of custody documents. (Response to § III. F);

     h. Any communication or correspondence with Defendants as identified in Your
        response to § III. G. (Communications between You or anyone acting on Your
        behalf, and any Defendant you have named in the lawsuit); and

     i. Any out-of-pocket expenses as identified in Your response to § IV. C.3 (out-of-
        pocket expenses).

                 The documents are attached.

                 I have no documents.

6. If You are claiming lost wages, loss of earnings, or lost earnings capacity, produce
   Your W-2s and all tax records reflecting Your income for the five (5) years preceding
   the removal of Your Paragard that is the subject of Your Lawsuit to the present.

                 I am not claiming lost wages, loss of earnings, or lost earnings capacity.



                                             46
     You may attach as many sheets of paper as necessary to fully answer these questions.
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                 The documents are attached.

                 I have no documents.

7. If You are suing on behalf of another individual, produce copies of the death
   certificate, letters testamentary, letters of administration, powers of attorney,
   guardianship, or guardian ad litem orders or other documents relating to Your status as a
   plaintiff in Your Lawsuit.

                 I am not suing on behalf of another individual.

                 The documents are attached.

                 I have no documents.

8. If Your spouse is bringing a loss of consortium claim, produce all documents
   constituting, evidencing, or otherwise relating to Your spouse’s claims or damages for
   loss of consortium.

                 There is no loss of consortium claim asserted

                 The documents are attached.

                 I have no documents.

9. To the extent not already produced in response to a Request for Production above,
   produce the medical records of each and every Health Care Facility, pharmacy, or Health
   Care Provider identified by You in response to the questions in Sections III, IV, and V.
   E. of the Plaintiff Fact Sheet (Your medical care and history for the time period beginning
   five (5) years prior to the placement of Your first Paragard and continuing to the present).

                 The documents are produced in response to one or more other Requests for
                 Production above.

                 The documents are attached.

                 I have no documents.

 10.    Produce all test protocols, test results, or reports of testing or test results on the
 Paragard, including any and all pieces of the Paragard that is the subject of Your Lawsuit.

                 The documents are attached.

                 I have no documents.




                                             47
     You may attach as many sheets of paper as necessary to fully answer these questions.
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                  Exhibit A-1
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                AUTHORIZATION FOR RELEASE OF MEDICAL RECORDS
                     PURSUANT TO 45 C.F.R. § 164.508 (HIPAA)



Patient Name: _________________________

Date of Birth: _____________________

Social Security Number: xxx-xx-

       I hereby authorize: [Name of Physician, Healthcare Provider, or Facility]




       to release all existing medical records and information, regarding the above-named
person’s medical care, treatment, physical condition(s) and/or medical expenses revealed by
observation or treatment past, present and future to the below recipient(s):

                                           Ontellus
                                   910 Louisiana, Suite 4500
                                     Houston, TX 77002


       These records shall be used solely in connection with the currently pending litigation
involving the person named above:

       In Re: ParaGard IUD Products Liability Litigation
       In the United States District Court for the Northern District of Georgia, Atlanta Division
       Case No. 1:20-md-02974


       This authorization shall cease to be effective as of the date on which that litigation
concludes.
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INFORMATION TO BE RELEASED OR INSPECTED:
 X   Entire Chart/record, including, but not limited to, all of the following:


      Immunizations                       X-ray and other radiologic             PT, OT and/or Speech Therapy
      Discharge Summary                  reports/films/images                   Notes
      History & Physical                  Laboratory reports                     Rehab Clinic Reports
      Consultations                        EEGs, ECGs or other electronic        Occupational Health Clinic
      Operative Reports                  tests                                  Records
      Emergency Room Reports              Nursing notes                         Worker’s Compensation
      Pharmacy/prescription records       Doctor’s Orders & Progress            Billing and Patient Accounts
      Emergency transport reports        Notes                                  records
                                            Copies of Reports Originating         Social Services reports and/or
                                          from other Providers                   evaluations
     Other:


        I understand that the health information being used/disclosed may include information
relating to the diagnosis and treatment of Human Immunodeficiency Virus (HIV), Acquired
Immune Deficiency Syndrome (AIDS), and sexually transmitted disease.

         I understand that I have the right to revoke in writing my consent to this disclosure at any
time, except to the extent that the above-named facility or provider already has taken action in
reliance upon this authorization, or if this authorization was obtained as a condition(s) of obtaining
insurance coverage. I further understand that the above-named facility or provider cannot
condition(s) the provision of treatment, payment, enrollment in a health plan or eligibility for
benefits on my provision of this authorization. I further understand that information disclosed
pursuant to this authorization may be subject to redisclosure by the recipient to its clients, agents,
employees, consultants, experts, the court, and others deemed necessary by the recipient to assist
in this litigation, and that such re-disclosure by the recipient will make this information no longer
protected by the federal privacy regulations promulgated pursuant to the Health Insurance
Portability and Accountability Act (HIPAA).

        Any photostatic copy of this document shall have the same authority as the original, and
may be substituted in its place. Copies of these materials are to be provided at the expense of the
firm(s) listed above.

                                                    Dated this _____ day of _______________, _________


                                                    _____________________________________________
                                                    [Plaintiff Name]
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                  Exhibit A-2
        Case 1:20-md-02974-LMM            Document 331         Filed 07/07/22      Page 67 of 89




  AUTHORIZATION FOR RELEASE OF PSYCHOLOGICAL/PSYCHIATRIC RECORDS
                 PURSUANT TO 45 C.F.R. § 164.508 (HIPAA)

Patient Name: _____________________________

Date of Birth: ____________________

Social Security Number: xxx-xx-___________________

       I hereby authorize: [Name of Physician, Healthcare Provider, or Facility]




to release all existing records and information regarding the above-named person’s psychological or
psychiatric care, treatment, condition(s) and/or expenses revealed by observation or treatment past,
present and future to the below recipient(s):

               Ontellus 910 Louisiana, Suite 4500 Houston, TX 77002

        These records shall be used solely in connection with the currently pending litigation involving
the person named above:

               In Re: ParaGard IUD Products Liability Litigation
               In the United States District Court for the Northern District of Georgia, Atlanta Division
               Case No. 1:20-md-02974

       This authorization shall cease to be effective as of the date on which that litigation concludes.

       I understand that this authorization includes information regarding the diagnosis and treatment
of psychiatric and psychological disorders, and that the health information being used/disclosed may
include information relating to the diagnosis and treatment of Human Immunodeficiency Virus (HIV),
Acquired Immune Deficiency Syndrome (AIDS), sexually transmitted disease and drug and alcohol
disorders.

        I understand that I have the right to revoke in writing my consent to this disclosure at any time,
except to the extent that the above-named facility or provider already has taken action in reliance upon
this authorization, or if this authorization was obtained as a condition(s) of obtaining insurance coverage.
I further understand that the above-named facility or provider cannot condition(s) the provision of
treatment, payment, enrollment in a health plan or eligibility for benefits on my provision of this
authorization. I further understand that information disclosed pursuant to this authorization may be
subject to redisclosure by the recipient to its clients, agents, employees, consultants, experts, the court,
and others deemed necessary by the recipient to assist in this litigation, and that such re-disclosure by
the recipient will make this information no longer protected by the federal privacy regulations
promulgated pursuant to the Health Insurance Portability and Accountability Act (HIPAA).


                                              2
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Any photostatic copy of this document shall have the same authority as the original, and may be
substituted in its place. Copies of these materials are to be provided at the expense of the firm(s) listed
above.



                                              Dated this _____ day of _______________, 2015



                                              _______________________________________
                                              [Plaintiff Name]




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                  Exhibit A-3
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          AUTHORIZATION TO RELEASE EMPLOYMENT INFORMATION


To:    [Name of Employer]




               This will authorize you to permit Ontellus, 910 Louisiana, Suite 4500, Houston,
TX 77002, to inspect and copy, or be furnished with, copies of all applications for employment,
resumes, records of all positions held, job descriptions of positions held, salary and/or
compensation records, performance evaluations and reports, statements and comments of fellow
employees, attendance records, W-2’s, workers’ compensation files; all hospital, physician, clinic,
infirmary, nurse, psychiatric and dental records; x-rays, test results, physical examination records;
any records pertaining to claims made relating to health, disability or accidents in which [Name of
Employee/Plaintiff], was involved including correspondence, reports, claim forms, questionnaires,
records of payments made to him or on her behalf; and any other records relating to [Name of
Employee/Plaintiff] employment.

       A photocopy of this authorization shall have the same force and effect as an original
authorization executed by me. This authorization shall remain in full force and effect until you
have been advised by me, in writing that it is no longer to be effective.



__________________________                    ____________________________
Date                                          [Name of Employee/Plaintiff]



                                              DOB: ________________________

                                              SSN: ________________________
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                  Exhibit A-4
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                  Exhibit A-5
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            AUTHORIZATION FOR RELEASE OF INSURANCE RECORDS

To:    [Name of Insurance Company]


       This will authorize you to permit Ontellus, 910 Louisiana, Suite 4500, Houston, TX
77002, to inspect and copy, or be furnished with, copies of all insurance records of any sort,
including but not limited to, statements, applications, explanation of benefits, disclosures,
correspondence, notes, settlements, agreements, contracts, or other documents, concerning
[Name of Insured/Plaintiff].

       A photocopy of this authorization shall have the same force and effect as an original
authorization executed by me. This authorization shall remain in full force and effect until you
have been advised by me, in writing, that it is no longer to be effective.


_____________                                       ______________________________
Date                                                [Name of Insured/Plaintiff]


                                                    DOB: __________________

                                                    SSN: xxx-xx-_____________
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                  Exhibit A-6
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                                                                                             Medicare

                                                     Beneficiary Services:1-800-MEDICARE (1-800-633-4227)
                                                                                  TTY/ TDD:1-877-486-2048



This form is used to advise Medicare of the person or persons you have chosen to have access to your
personal health information.

For faster processing, you may complete your Authorization form online by logging into
www.MyMedicare.gov with valid credentials where Authorized Representatives can be added or
updated under ‘My Accounts’.

Where to Return Your Completed Authorization Forms:
After you complete and sign the authorization form, return it to the address below:

Medicare BCC, Written Authorization Dept.
PO Box 1270
Lawrence, KS 66044

For New York Medicare Beneficiaries ONLY
The New York State Public Health Law protects information that reasonably could identify someone as
having HIV symptoms or infection, and information regarding a person's contacts. Because of New
York's laws protecting the privacy of information related to alcohol and drug abuse, mental health
treatment, and HIV, there are special instructions for how you, as a New York resident, should complete
this form.

    •   For question 2A, check the box for Limited Information, even if you want to authorize
        Medicare to release any and all of your personal health information.

     • Then proceed to question 2B. You may also check any of the remaining boxes and include any
       additional limitations in the space provided. For example, you could write "payment
       information".
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Instructions for Completing Section 2C of the Authorization Form:
Please select one of the following options.

   • Option 1 To include all information, check the box: "All information, including information about
     alcohol and drug abuse, mental health treatment, and HIV". Proceed with the rest of the form.

  •     Option 2 To exclude the information listed above, check the box "Exclude information about
        alcohol and drug abuse, mental health treatment, and HIV". Then proceed with the rest of the form.

If you have any questions or need additional assistance, please feel free to call us at 1-800-
MEDICARE (1-800-633-4227). TTY users should call 1-877-486-2048.

Sincerely,



1-800-MEDICARE
Customer Service Representative


Encl.
Department of Health and Human
                   Case          Services
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                                                                                             89Approved
Centers for Medicare & Medicaid Services                                                      OMB No. 0938-0930



                           Information to Help You Fill Out the
          “1-800-MEDICARE Authorization to Disclose Personal Health Information” Form

 By law, Medicare must have your written permission (an “authorization”) to use or give out your
 personal medical information for any purpose that isn't set out in the privacy notice contained in the
 Medicare & You handbook. You may take back (“revoke”) your written permission at any time, except
 if Medicare has already acted based on your permission.

 If you want 1-800-MEDICARE to give your personal health information to someone other than you,
 you need to let Medicare know in writing.

 If you are requesting personal health information for a deceased beneficiary, please include a copy of
 the legal documentation which indicates your authority to make a request for information. (For
 example: Executor/Executrix papers, next of kin attested by court documents with a court stamp and a
 judge's signature, a Letter of Testamentary or Administration with a court stamp and judge's signature,
 or personal representative papers with a court stamp and judge's signature.) Also, please explain your
 relationship to the beneficiary.

 Please use this step by step instruction sheet when completing your “1-800-MEDICARE
 Authorization to Disclose Personal Health Information” Form. Be sure to complete all sections of the
 form to ensure timely processing.

 1. Print the name of the person with Medicare.

     Print the Medicare number exactly as it is shown on the red, white, and blue Medicare card,
     including any letters.

     Print the birthday in month, day, and year (mm/dd/yyyy) of the person with Medicare.

 2. This section tells Medicare what personal health information to give out. Please check a box in
    2A to indicate how much information Medicare can disclose. If you only want Medicare to
    give out limited information (for example, Medicare eligibility), also check the box(es) in 2B
    that apply to the type of information you want Medicare to give out. Box 2C must be
    completed by New York Residents.

 3. This section tells Medicare when to start and/or when to stop giving out your personal health
    information. Check the box that applies and fill in dates, if necessary.

 4. This section tells Medicare the reason for disclosure.

 5. Medicare will give your personal health information to the person(s) or organization(s) you fill in
    here. You may fill in more than one person or organization.


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Instructions
Department of Health and Human
                   Case          Services
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Centers for Medicare & Medicaid Services                                                        OMB No. 0938-0930

     If you designate an organization, you must also identify one or more individuals in that
     organization to whom Medicare may disclose your personal health information.

 6. The person with Medicare or personal representative must sign their name, fill in the date, and
    provide the phone number and address of the person with Medicare.

     If you are a personal representative of the person with Medicare, check the box, provide your
     address and phone number, and attach a copy of the paperwork that shows you can act for that
     person (for example, Power of Attorney).

 7. Send your completed, signed authorization to Medicare at the address shown here on your
    authorization form.

 8. If you change your mind and don't want Medicare to give out your personal health information,
    write to the address shown under number six on the authorization form and tell Medicare. Your
    letter will revoke your authorization and Medicare will no longer give out your personal health
    information (except for the personal health information Medicare has already given out based on
    your permission).


 You should make a copy of your signed authorization for your records before mailing it to Medicare.




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Instructions
Department of Health
                Case and Human   Services
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             1-800-MEDICARE Authorization to Disclose Personal Health Information
     Use this form if you want 1-800-MEDICARE to give your personal health information to someone
     other than you.



   ___________________________________                  _____________________                     ___________
1. Print Name                                           Medicare Number                           Date of Birth
    (First and last name of the person with Medicare)   (Exactly as shown on the Medicare Card)   (mm/dd/yyyy)




2. Medicare will only disclose the personal health information you want disclosed.

       2A: Check only one box below to tell Medicare the specific personal health information you
       want disclosed:

               Limited Information (go to question 2b)

               Any Information (go to question 3)


      2B: Complete only if you selected “limited information”. Check all that apply:

               Information about your Medicare eligibility

               Information about your Medicare claims

               Information about plan enrollment (e.g. drug or MA Plan)

               Information about premium payments

               Other Specific Information (please write below; for example, payment information)




      2C: NY Residents Only, this section must be completed.
      Please select one of the following options: (Please check only one box.)

               Include all information. This includes information about alcohol and drug abuse, mental
               health treatment, and HIV.

               OR

               Exclude information about alcohol and drug abuse, mental health treatment, and HIV.
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Department of Health
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3. Check only one box below indicating how long Medicare can use this authorization to disclose
   your personal health information (subject to applicable law—for example, your State may limit
   how long Medicare may give out your personal health information):

          Disclose my personal health information indefinitely


          Disclose my personal health information for a specified period only

     beginning: ____________________(mm/dd/yyyy) and ending: _________________(mm/dd/yyyy)


4. Fill in the reason for the disclosure (you may write "at my request"):




5. Fill in the name and address of the person or organization to whom you want Medicare to
   disclose your personal health information. Please provide the specific name of the person for
   any organization you list below. If you would like to authorize any additional individuals or
   organizations, please add those to the back of this form.

    Name        Ontellus
                ______________________________________________________________________

    Address     910 Louisiana, Suite 4500 Houston, TX 77002
                ______________________________________________________________________

    Name        ______________________________________________________________________

    Address     ______________________________________________________________________




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Department of Health
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Note: You have the right to take back (“revoke”) your authorization at any time, in writing, except
to the extent that Medicare has already acted based on your permission. To revoke authorization,
send a written request to the address noted below. Your authorization or refusal to authorize disclosure
of your personal health information will have no effect on your enrollment, eligibility for benefits, or the
amount Medicare pays for the health services you receive.

 6.
      I authorize 1-800-MEDICARE to disclose my personal health information listed above to
      the person(s) or organization(s) I have named on this form. I understand that my
      personal health information may be re-disclosed by the person(s) or organization(s) and
      may no longer be protected by law.



        Signature                              Telephone Number                 Date (mm/dd/yyyy)

        Print the address of the person with Medicare (Street Address, City, State, and ZIP)




            Check here if you are signing as a personal representative and complete below.
            Please attach the appropriate documentation (for example, Power of Attorney). This only
            applies if someone other than the person with Medicare signed above.
           Print the Personal Representative's Address (Street Address, City, State, and ZIP)




        Telephone Number of Personal Representative:

        Personal Representative's Relationship to the Beneficiary:




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 7. Send the completed, signed authorization to:

                                 Medicare BCC, Written Authorization Dept.
                                              PO Box 1270
                                           Lawrence, KS 66044


                                                Print Form




Note: You have the right to take back (“revoke”) your authorization at any time, in writing, except to the
extent that Medicare has already acted based on your permission. If you would like to revoke
authorization, send a written request to the address noted above.

Your authorization or refusal to authorize disclosure of your personal health information will have no
effect on your enrollment, eligibility for benefits, or the amount Medicare pays for the health services
you receive.




According to the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of
information unless it displays a valid OMB control number. The valid OMB control number for this
information collection is 0938-0930. The time required to complete this information collection is
estimated to average 15 minutes per response, including the time to review instructions, search existing
data resources, gather the data needed, and complete and review the information collection. If you have
comments concerning the accuracy of the time estimate(s) or suggestions for improving this form, please
write to: CMS, 7500 Security Boulevard, Attn: PRA Reports Clearance Officer, Mail Stop C4-26-05,
Baltimore, Maryland 21244-1850.

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          Placeholder for Individual State’s
            Medicaid Authorization Form
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                AUTHORIZATION FOR THE RELEASE OF WORKERS’
                         COMPENSATION RECORDS

Name: _______________________

DOB: _________________

SSN: xxx-xx-_______________

I do hereby authorize [Name of Workers’ Compensation Department], to release to

_Ontellus___________________________________________________________________________
               (Person or entity to whom records may be released)

and deliver, by mail or otherwise, to that person or entity at the following address:

__910 Louisiana, Suite 4500_____________________________
(Street Address)
__Houston______________________________________________
(City)
__Texas 77002__________________________________________
(State, Zip Code)

any and all records, documents and information in the Department’s possession
pertaining to any workers’ compensation matter or matters involving me. These
records, documents, and information may include, but are not limited to, first and
subsequent reports of injury, claim file material including medical records and
reports, settlement agreements, and awards. By affixing my signature below, I
affirmatively consent to the release and disclosure of any and all such records and
documents, and all information contained therein. I further affirmatively state I
understand and acknowledge that by authorizing the release and delivery of this
material I am waiving any right to claim the material to be released is exempt from
disclosure.


__________________________                 _______________________________________
Date                                       [Name of Plaintiff]
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               AUTHORIZATION FOR THE RELEASE OF DISABILITY
                            CLAIMS RECORDS

Name: _______________________

DOB: _________________

SSN: xxx-xx-_______________

I do hereby authorize [Name of Disability Department], to release to

_Ontellus___________________________________________________________________________
               (Person or entity to whom records may be released)

and deliver, by mail or otherwise, to that person or entity at the following address:

_910 Louisiana, Suite 4500____________________________
(Street Address)
_Houston_____________________________________________
(City)
_Texas 77002_________________________________________
(State, Zip Code)

any and all records of disability claims of any sort for any disability claim(s) filed,
including, but not limited to, statements, applications, disclosures, correspondence,
notes, settlements, agreements, contracts or other documents concerning the above-
named individual. By affixing my signature below, I affirmatively consent to the
release and disclosure of any and all such records and documents, and all
information contained therein. I further affirmatively state I understand and
acknowledge that by authorizing the release and delivery of this material I am
waiving any right to claim the material to be released is exempt from disclosure.

This authorization shall be considered as continuing in nature and is to be given
full force and effect to release information of any of the foregoing learned or
determined after the date hereof. It is expressly understood by the undersigned that
you are authorized to accept a copy or photocopy of this authorization with the same
validity as though the original had been presented to you.


__________________________                 _______________________________________
Date                                       [Name of Claimant/Plaintiff]
